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Not for Publication

                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

                                  :
ELIZABETH KYLE-LABELL,            :
on behalf of herself and all others
                                  :
similarly situated,               :                           Civil Action No. 15-5193 (ES) (JAD)
                                  :
               Plaintiff,         :                                            ORDER
                                  :
               v.                 :
                                  :
SELECTIVE SERVICE SYSTEM, et al., :
                                  :
               Defendants.        :
                                  :

SALAS, DISTRICT JUDGE

        Pending before the Court is Defendants Selective Service System and Donald M. Benton’s1

(together, “Defendants”) motion to dismiss Plaintiff’s Second Amended Complaint under Federal

Rule of Civil Procedure 12(b)(1) for lack of standing (D.E. No. 69); and the Court having

considered the parties’ submissions and decided the matter without oral argument under Federal

Rule of Civil Procedure 78(b); and for the reasons stated in the Court’s accompanying Opinion;

        IT IS on this 29th day of March 2018;

        ORDERED that Defendants’ motion is DENIED without prejudice; and it is further

        ORDERED that the Clerk of Court shall TERMINATE docket entry number 69.


                                                                    s/Esther Salas
                                                                    Esther Salas, U.S.D.J.




1
           Under Federal Rule of Civil Procedure 25(d), Donald M. Benton automatically replaced Lawrence G. Romo
in this litigation.
